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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF GEORGIA
                                  MACON DIVISION

MEDMARC CASUALTY INSURANCE                        *
COMPANY,
                                                  *
                    Plaintiff,                        Case No. 5:17-CV-449-MTT
v.                                                *

SELL & MELTON, LLP et al.,                        *

                  Defendants.                     *
___________________________________

                                     JUDGMENT

      Pursuant to this Court’s Order dated October 31, 2018, and for the reasons stated therein,

JUDGMENT is hereby entered dismissing this case.

       This 1st day of November, 2018.

                                           David W. Bunt, Clerk


                                           s/ Amy N. Stapleton, Deputy Clerk
